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JACK SMITH, Chief                               JAIKUMAR RAMASWAMY, Chief                 CARLIE CHRISTENSEN, Acting U.S.A. (#633)
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                                     IN THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF UTAH, CENTRAL DIVISION


     UNITED STATES OF AMERICA,
                                                                       Case No. 2:12-cr-645 (TC) (DBP)
                                   Plaintiff,

               vs.                                                     GOVERNMENT’S NOTICE
                                                                       OF CIPA FILING
     ROBERT G. LUSTYIK, JR. and
     JOHANNES W. THALER,

                                   Defendants.

              The United States of America, by and through undersigned counsel, hereby provides

    notice that on September 8, 2014, the government filed with the Classified Information Security

    Officer its Response to Defendants’ Joint Motion to Compel Discovery.



              Respectfully submitted,

              JACK SMITH, Chief                                           JAIKUMAR RAMASWAMY, Chief
              Public Integrity Section                                    Asset Forfeiture/Money Laundering Section


    By:       /s/ Maria N. Lerner             By:                         /s/ Ann Marie Blaylock Bacon
              PETER M. KOSKI, Deputy Chief                                ANN MARIE BLAYLOCK BACON
              MARIA N. LERNER, Trial Attorney                             Trial Attorney
